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         EXHIBIT A
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                                            DEFINITIONS



        For the purposes of these Requests for Production, the following Definitions shall apply:

        1.      The words “all,” “any,” and “each” shall each be construed as encompassing any

and all. The singular shall include the plural and vice versa; the terms “and” or “or” shall be both

conjunctive and disjunctive; and the term “including” means “including without limitation.” The

present tense shall be construed to include the past tense, and the past tense shall be construed to

include the present tense.

        2.      “2019 Statement” means the Verified Statement of Abused in Scouting Pursuant to

Rule of Bankruptcy Procedure 2019 [D.I. 5917]

        3.      “Abuse Claim” means a liquidated or unliquidated claim against the Debtors that

is attributable to, arises from, is based upon, relates to, or results from, in whole or in part, directly,

indirectly, or derivatively, alleged sexual abuse that occurred prior to the petition date, including

any such claim that seeks monetary damages or other relief, under any theory of law or equity

whatsoever, including vicarious liability, respondeat superior, conspiracy, fraud, including fraud

in the inducement, any negligence-based or employment-based theory, including negligent hiring,

selection, supervision, retention or misrepresentation, any other theory based on misrepresentation,

concealment, or unfair practice, public or private nuisance, or any other theory, including any

theory based on public policy or any act or failure to act by the Debtors or any other person for

whom the Debtors are alleged to be responsible.

         4.      “Abused in Scouting” or “AIS” means the cooperative effort by AVA Law Group,

 Eisenberg Rothweiler, and Kosnoff Law in these Chapter 11 Cases, as described in the 2019
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Statement, including its individual members and any attorneys, representatives, consultants,

advisors or anyone acting on its behalf.

       5.        The term “AVA Law Group” means AVA Law Group, Inc. including its individual

members and any attorneys, representatives, consultants, advisors or anyone acting on its behalf.

       6.        “Brown Rudnick” means Brown Rudnick LLP including its individual members

and any attorneys, representatives, consultants, advisors or anyone acting on its behalf.

       7.        The term “Chapter 11 Cases” means the cases filed by the Debtors under chapter

11 of the Bankruptcy Code, jointly administered under Case No. 20-10343 (LSS).

       8.        “Communications” shall mean all inquiries, discussions, conversations,

negotiations, agreements, understandings, meetings, telephone conversations, letters, notes,

telegrams, correspondence, memoranda, emails, facsimile transmissions, or other form of verbal,

written, mechanical, or electronic disclosure, in Your actual or constructive possession, control, or

custody or in the possession, control, or custody of any current or former affiliates, representatives

or advisors.

       9.        “Concerning” means relating to, evidencing, supporting, negating, refuting,

embodying, containing, memorializing, comprising, reflecting, analyzing, constituting, describing,

identifying, referring to, referencing, discussing, indicating, connected with or otherwise

pertaining in any way, in whole or in part, to the subject matter being referenced.

       10.       “Debtors” means Boy Scouts of America and Delaware BSA LLC, collectively and

individually, as context requires and to encompass as broadly as possible responsive documents

from Boy Scouts of America and Delaware BSA LLC, and each of their attorneys.

       11.       “Documents”    means any writings, recordings, electronic files and mails, or

photographs, whether original or duplicate, as defined in Federal Rule of Evidence 1001 and



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Federal Rule of Civil Procedure 34(a), inclusively, including (but not limited to) all documents

and information in Your possession, custody, or control, and includes: all and any written,

recorded, or graphic material, however produced or reproduced, minutes, summaries, memoranda,

transcripts, tapes, or other voice recordings, and all other documents and tangible things, including

booklets, brochures, pamphlets, circulars, notices, periodicals, papers, records, contracts,

agreements, photographs, minutes, memoranda, messages, appraisals, analyses, reports, files,

interoffice memoranda, or interoffice communications of any description, calculations, invoices,

accounting entries, diary entries, calendars, inventory sheets, ledgers, correspondence, emails,

phone recordings, instant messages, text messages, telegrams, advertisements, press releases,

notes, letters, diaries, working papers, schedules, projections, graphs, charts, films, tapes, print-

outs, and all other data, whether recorded by electronic or other means, and all drafts thereof. If a

Document was prepared in several copies, or if additional copies were thereafter made, and if any

such copies are not identical in all respects or are no longer identical by reason of subsequent

notation or modification of any kind whatsoever, including notes on the front or back, in the

margins, or on any of the pages thereof, then each such non-identical copy is a separate Document

and must be produced. When examples of categories or types of Documents are given in a

particular Request for Production by use of phrases such as “including,” this shall always be

interpreted as being for illustrative purposes only (i.e., to be understood as “including without

limitation”) and in no way limits or narrows the scope of any Request for Production.

“Documents” always includes Communications, whether so stated in a particular Request for

Production or not.




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        12.     “Eisenberg Rothweiler” means Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck,

P.C. including its individual members and any attorneys, representatives, consultants, advisors or

anyone acting on its behalf.

        13.     “Kosnoff Law” means Kosnoff Law, PLLC including its individual members and

any attorneys, representatives, consultants, advisors or anyone acting on its behalf.

        14.     The term “Master Ballot” shall have the meaning provided in the Debtors’ Revised

Proposed Solicitation Procedures Order [Docket No. 6420-1] (as it may be modified, amended,

or supplemented from time to time).

        15.     The term “Omni Agent Solutions” means Omni Agent Solutions, Inc. including its

individual members and any attorneys, representatives, consultants, advisors or anyone acting on

its behalf.

        16.     The term “Reciprocity Industries” means Reciprocity Industries, LLC including its

individual members and any attorneys, representatives, consultants, advisors or anyone acting on

its behalf.

        17.     “You” or “Your” means the person on whom this discovery is served.

                                        INSTRUCTIONS

        For the purposes of these Requests for Production, the following Instructions shall be

followed:

        1.      The preceding Definitions apply to each of the Requests. Any capitalized terms

used but not defined herein shall have the meanings given to such terms in the Plan and/or

Disclosure Statement.

        2.      The terms used in these Requests are to be given their most expansive and inclusive

interpretation unless otherwise expressly limited in a Request. The terms “all,” “any,” and “each”



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shall each be construed as encompassing any, all, each, and every. The singular form of a word

shall include the plural and vice versa. The terms “and” or “or” shall be both conjunctive and

disjunctive. The term “including” means “including without limitation.” The present tense shall

be construed to include the past tense, and the past tense shall be construed to include the present

tense.

         3.     These Requests shall be deemed continuing in nature. In the event You become

aware of or acquire additional information relating or referring to any of the following Requests,

such additional information is to be promptly produced.

         4.     You are required to produce all Documents and all other materials described below

that is in Your actual or constructive possession, custody, or control, including in the possession,

custody, or control of current or former employees, officers, directors, agents, agents’

representatives, consultants, contractors, vendors, or any fiduciary or other third parties, wherever

those Documents and materials are maintained, including on personal computers, PDAs, wireless

devices, or web-based email systems such as Gmail, Yahoo, etc.

         5.     You must produce all Documents in Your possession, custody, or control, whether

maintained in electronic or paper form and whether located on hardware owned and maintained

by You or hardware owned and/or maintained by a third party that stores data on Your behalf.

         6.     Documents not otherwise responsive to these Requests should be produced: (a) if

such Documents mention, discuss, refer to, explain, or concern one or more Documents that are

called for by these Requests; (b) if such Documents are attached to, enclosed with, or accompany

Documents called for by these Requests; or (c) if such Documents constitute routing slips,

transmittal memoranda or letters, comments, evaluations, or similar materials.




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       7.      Documents should include all exhibits, appendices, linked Documents, or otherwise

appended Documents that are referenced in, attached to, included with, or are a part of the

requested Documents.

       8.      If any Document, or any part thereof, is not produced based on a claim of attorney-

client privilege, work-product protection, mediation privilege, or any other claimed privilege or

exemption from production, then in answer to such Request or part thereof, for each such

Document, You must:

               a.      Identify the type, title and subject matter of the Document;

               a.      State the place, date, and manner of preparation of the Document;

               b.      Identify all authors, addressees, and recipients of the Document, including

                       information about such persons to assess the privilege asserted; and

               c.      Identify the legal privilege(s) and the factual basis for the claim.

       9.      Documents should not contain redactions unless such redactions are made to protect

information subject to the attorney-client privilege, mediation privilege, and/or work-product

doctrine. In the event any Documents are produced with redactions, a log setting forth the

information requested in Instruction 8 above must be provided.

       10.     To the extent a Document sought herein was at one time, but is no longer, in Your

actual or constructive possession, custody, or control, state whether it: (a) is missing or lost; (b)

has been destroyed; (c) has been transferred to others; and/or (d) has been otherwise disposed of.

In each instance, identify the Document, state the time period during which it was maintained,

state the circumstance and date surrounding authorization for such disposition, identify each

person having knowledge of the circumstances of the disposition, and identify each person who




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had possession, custody, or control of the Document. Documents prepared prior to, but which

relate or refer to, the time period covered by these Requests are to be identified and produced.

       11.     If any part of the Requests cannot be responded to in full, please respond to the

extent possible, specifying the reason(s) for Your inability to respond to the remainder and stating

whatever information or knowledge You have concerning the portion to which You do not

respond.

       12.     If You object to any of these Requests, state in writing with specificity the grounds

of Your objections. Any ground not stated shall be waived. If You object to a particular portion of

any Request, You shall respond to any other portions of such Request as to which there is no

objection and state with specificity the grounds of the objection.

       13.     If the identity of Documents responding to a Request is not known, then that lack

of knowledge must be specifically indicated in the response. If any information requested is not in

Your possession, but is known or believed to be in the possession of another person or entity, then

identify that person or entity and state the basis of Your belief or knowledge that the requested

information is in such person’s or entity’s possession.

                                 MANNER OF PRODUCTION

       1.      All Documents produced to the Propounding Insurers shall be provided in either

native file (“native”) or single-page 300 dpi-resolution group IV TIF format (“tiff”) format as

specified below, along with appropriately formatted industry-standard database load files and

accompanied by true and correct copies or representations of unaltered attendant metadata. Where

Documents are produced in tiff format, each Document shall be produced along with a multi-page,

Document-level searchable text file (“searchable text”) as rendered by an industry-standard text

extraction program in the case of electronic originals, or by an industry-standard Optical Character



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Recognition (“ocr”) program in the case of scanned paper Documents. Searchable text of

Documents shall not be produced as fielded data within the “.dat file” as described below.

          2.     Database Load Files and Production Media Structure: Database load files shall

consist of: (i) a comma-delimited values (“.dat”) file containing: production Document identifier

information, data designed to preserve “parent and child” relationships within Document

“families,” reasonably accessible and properly preserved metadata (or bibliographic coding in the

case of paper Documents), custodian or Document source information; and (ii) an Opticon (“.opt”)

file to facilitate the loading of tiff images. Load files should be provided in a root-level folder

named “Data,” images shall be provided within a root level “Images” folder containing reasonably

structured subfolders, and searchable text files shall be provided in a single root-level “Text”

folder.

          3.     Electronic Documents and Data, Generally: Documents and other responsive data

or materials created, stored, or displayed on electronic or electro-magnetic media shall be produced

in the order in which the Documents are or were stored in the ordinary course of business, including

all reasonably accessible metadata, custodian or Document source information, and searchable text

as to allow the Propounding Insurers, through a reasonable and modest effort, to fairly, accurately,

and completely access, search, display, comprehend, and assess the Documents’ true and original

content.

          4.     Emails and Attachments, and Other Email Account-Related Documents: All

Documents and accompanying metadata created and/or stored in the ordinary course of business

within commercial, off-the-shelf email systems, including, but not limited, to Microsoft

ExchangeTM, Lotus NotesTM, or Novell GroupwiseTM shall be produced in tiff format,

accompanying metadata, and searchable text files or, alternately, in a format that fairly, accurately,



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and completely represents each Document in such a manner as to make the Document(s)

reasonably useable, manageable, and comprehendible by the Propounding Insurers.

       5.      Documents and Data Created or Stored in or by Structured Electronic Databases:

With the exclusion of email and email account-related Documents and data, all Documents and

accompanying metadata created and/or stored in structured electronic databases or files shall be

produced in a format that enables the Propounding Insurers to reasonably manage and import those

Documents into a useable, coherent database. Documents must be accompanied by reasonably

detailed documentation explaining the Documents’ content and format, including, but not limited

to, data dictionaries and diagrams. Some acceptable formats, if and only if provided with definitive

file(s), table(s), and field level schemas include:

                   a. XML format file(s);

                   b. Microsoft SQL database(s);

                   c. Access database(s); and/or

                   d. fixed or variable length ASCII delimited files.

       6.      Spreadsheets, Multimedia, and Non-Standard File Types:               All Documents

generated or stored in software such as Microsoft Excel or other commercially available

spreadsheet programs, as well as any multimedia files such as audio or video, shall be produced in

their native format, along with an accompanying placeholder image in tiff format indicating a

native file has been produced. A “Nativelink” entry shall be included in the .dat load file indicating

the relative file path to each native file on the production media. To the extent You have other file

types that do not readily or easily and accurately convert to tiff and searchable text, You may elect

to produce those files in native format subject to the other requirements listed herein. Native files




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may be produced within a separate root-level folder structure on deliverable media entitled

“Natives.”

       7.      “Other” Electronic Documents: All other Documents and accompanying metadata

and embedded data created or stored in unstructured files generated by commercially available

software systems (excluding emails, structured electronic databases, spreadsheets, or multimedia)

such as, but not limited to, word processing files (such as Microsoft Word), image files (such as

Adobe .pdf files and other formats), and text files shall be produced in tiff and searchable text

format in the order the files are or were stored in the ordinary course of business.

       8.      Paper Documents: Documents originally created or stored on paper shall be

produced in tiff format. Relationships between Documents shall be identified within the Relativity

.dat file utilizing document identifier numbers to express parent Document/child attachment

boundaries, folder boundaries, and other groupings. In addition, the searchable text of each

Document shall be provided as a multi-page text file as provided for by these Requests for

Production.

                               REQUESTS FOR PRODUCTION

       1.      All Communications or Documents exchanged between or among Kosnoff Law,

AVA Law Group, or Eisenberg Rothweiler Concerning the agreement to represent clients through

Abused in Scouting as described in paragraph 2 of the 2019 Statement.

       2.      All Communications between or among You, AVA Law Group, Kosnoff Law, or

Eisenberg Rothweiler Concerning the television advertising for potential Boy Scouts of America

and/or Delaware BSA LLC sexual abuse victims.




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       3.      All Documents or Communications between or among You, AVA Law Group,

Kosnoff Law, or Eisenberg Rothweiler Concerning the potential use of a Master Ballot in these

Chapter 11 Cases.

       4.      All Communications with (a) the Debtors, (b) Reciprocity Industries, or (c) any

other third party vendor Concerning Abuse Claims.

       5.      All Communications between or among You, AVA Law Group, Kosnoff Law, or

Eisenberg Rothweiler Concerning the review and signing process.

       6.      Any other documented Communications between or among You, AVA Law Group,

the Debtors, Kosnoff Law, or Eisenberg Rothweiler Concerning the events detailed in the 2019

Statement.

       7.      All Documents and Communications that You exchanged with Omni Agent

Solutions Concerning the use of Master Ballots for persons alleging Abuse Claims against the

Debtors who are clients of Abused in Scouting, AVA Law Group, Eisenberg Rothweiler, and/or

Kosnoff Law.

       8.      All Documents and Communications that You exchanged with Eisenberg

Rothweiler Concerning these Chapter 11 Cases or the Abuse Claims asserted against the Debtors.

       9.      All Communications between You and anyone representing the Boy Scouts of

America and/or Delaware BSA LLC pre-petition and/or the Debtors post-petition Concerning the

Abuse Claims asserted against the Debtors.

       10.     All Communications between You and any lawyer at Brown Rudnick Concerning

these Chapter 11 Cases, including but not limited to David Molton.

       11.     All Documents Concerning the sale, transfer, or granting of a lien in any portion of

the recovery to be made for an Abuse Claim asserted against the Debtors.



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